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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                      CONDITIONAL TRANSFER ORDER (CTO −126)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,873 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                                                      John W. Nichols
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                   MDL No. 2804



                    SCHEDULE CTO−126 − TAG−ALONG ACTIONS



 DIST        DIV.      C.A.NO.      CASE CAPTION


ALASKA

                                    Bristol Bay Area Health Corporation v. Purdue Pharma
  AK          3       19−00305      L.P. et al

GEORGIA NORTHERN

 GAN          1       19−05354      Bolden v. Teva Pharmaceutical Industries, Ltd. et al

IOWA SOUTHERN

  IAS         4       19−00386      Jaren Depenning et al v. The Iowa Clinic, P.C. et al

LOUISIANA EASTERN

                                    Terrebonne Parish Consolidated Government v. Teva
  LAE         2       19−13908      Pharmaceutical Industries, Ltd. et al

MASSACHUSETTS

                                    Town of Hull v. Amerisourcebergen Drug Corporation
  MA          1       19−12433      et al

MISSOURI EASTERN

                                    Scott County, Missouri v. AmerisourceBergen Drug
 MOE          1       19−00207      Corp. et al

NEVADA

  NV          2       19−02030      Spinney v. Teva Pharmaceutical Industries, Ltd. et al

OKLAHOMA EASTERN

                                    Coal County Board of County Commissioners v. Purdue
  OKE         6       19−00405      Pharma, LP et al

OKLAHOMA WESTERN
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                                    Jackson County Board of County Commissioners v.
 OKW          5       19−01108      Purdue Pharma LP et al
                                    Lincoln County Board of County Commissioners v.
 OKW          5       19−01109      Purdue Pharma LP et al
                                    Woodward County Board of County Commissioners v.
 OKW          5       19−01110      Purdue Pharma LP et al
                                    Board of County Commissioners of Noble County v.
 OKW          5       19−01127      Purdue Pharma LP et al

PENNSYLVANIA MIDDLE

                                    Borough of Edwardsville, Pennsylvania v.
 PAM          3       19−02042      Amerisourcebergen Drug Corporation et al
                                    Forty Fort Borough, Pennsylvania v.
 PAM          3       19−02043      Amerisourcebergen Drug Corporation et al

WISCONSIN EASTERN

  WIE         1       19−01754      City of Marinette v. Cephalon Inc et al
